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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  ROCK HILL DIVISION

FRANK WILSON, JR.,                            )
                                              )
       Plaintiff,                             )
                                              )       No. 0:10-cv-02774-JFA
       vs.                                    )
                                              )
PMAB, LLC,                                    )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                            COMPLAINT

       NOW COMES the Plaintiff, FRANK WILSON, JR., by and through his attorney,

JAMES M. ERVIN, and for his Complaint against the Defendant, PMAB, LLC, Plaintiff alleges

and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                             PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Sharon, South

Carolina.

       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as he is a natural

person allegedly obligated to pay a debt.
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        5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

        6.      On information and belief, Defendant is a limited liability company of the State of

North Carolina, which is licensed to do business in South Carolina and which has its principal

place of business in Charlotte, North Carolina.

                                              COUNT I

                        (Violation of the Fair Debt Collection Practices Act)

        7.      During or about the year of 2008, Defendant mailed a letter to Plaintiff in an

attempt to collect the aforementioned alleged debt stemming from medical charges that had in

fact been paid in full to the original creditor, as reflected by the original creditor’s statement.

        8.      On or about March 21, 2010, Plaintiff mailed a letter to Defendant disputing the

alleged debt, requesting validation of the debt, and specifically requesting that Defendant not

cease all telephone calls to Plaintiff. A copy of said letter is attached as Exhibit 1.

        9.      Despite Plaintiff’s request, Defendant’s representatives and/or employees

continued to attempt to contact Plaintiff via telephone regarding the alleged debt, including but

not limited to at least one telephone call on April 15, 2010; at least three telephone calls on April

27, 2010 (at approximately 12:14 pm, 2:43 p.m. and 4:34 p.m.); and at least one telephone call

on April 28, 2010.

        10.     Further Defendant’s representatives and/or employees failed to identify

themselves as debt collectors during the course of each and every communication with Plaintiff.

        11.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:




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               a.      Falsely representing the character, amount and/or legal status of the debt,

                       in violation of 15 U.S.C. § 1692e(2)(A);

               b.      Continuing to communicate with Plaintiff after Defendant was notified in

                       writing that he wished for Defendant to cease further communication with

                       him, in violation of 15 U.S.C. § 1692c(c);

               c.      Failing to disclose in every communication with Plaintiff that the

                       communication was from a debt collector, in violation of 15 U.S.C. §

                       1692e(11); and

               d.      By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with the FDCPA.

       12.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, FRANK WILSON, JR., respectfully prays for a judgment

against Defendant as follows:

               a.      Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of his claims in this action.




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                                     Respectfully Submitted,

                                     /s/ James M. Ervin
                                     James M. Ervin
                                     Attorney for Plaintiffs
                                     P.O. Box 6276
                                     Columbia, SC 29260-6276
                                     (888) 493-0770, ext. 308 (phone)
                                     (866) 551-7791 (facsimile)
                                     James@LuxenburgLevin.com




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